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IN THE C|RCU|T COURT, FOURTH
JUD|CIAL ClRCU|T, |N AND FOR
DUVAL COUNTY. FLOR|DA

cAsE No: 19-30;7, 6/4 w§‘loZM-MA

 

DlVlS|ON: +
0/"

MATTHEW McKAY, an individual,

Plaintiff,
v.
STATE FARM MUTUAL AUTOMOB|LE,
|NSURANCE C.OMPANY. a foreign corporation.

Defendant. ,

l
COMPLA!NT'

Plaintiff, MATI'HEW McKAY, by and through his undersigned oounsel, sues the
Defendantl STATE FARM MUTUAL AUTOMOB|LE lNSURANCE COMPANY, a foreign
corporation (“STATE FARM") and alleges:

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1. This is an action for damages which exceed the sum of $15.000.00. exclusive
of interest and costs.

2. At all times material hereio. Plaintiff, MATTHEW McKAY, was and is a
resident of Duval County, Florida.

3. At all times material hereto, Defendant, STATE FARM, was and ls a foreign
corporation authorized to do business in the State of Florida. and in fact, doing business in
Duval County, Florida. by virtue of the fact that lt offers automobile insurance for sale in
Jaci<sonvi|le, Duval County, Florida.

4. At all times material hereto. Plaintiff, MATTHEW McKAY, was insured

through a policy of automobile insurance provided by Defendant. STATE FARM, which

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included underinsured motorist coverage for bodily injury. A copy of that policy is attached
hereto as “Exhibit A.”

5. Under the subject policy of insurance,. STATE FARM, is obligated to pay ali
and any parts of damages for bodily injury to Plaintiff, MATTHEW McKAY, if the party
responsible for the accident was uninsured or underinsured for bodily injury liability
coverage.

6. On or about. September 8, 2015. Patricio Edward Brown owned and operated
a motor vehicle on State Road 202 in Jacksonville, Duval County, Florida.

7. At that time and piace, Patriclo Edward Brown negligently operated or
maintained his motor vehicle so that it collided with Plaintiff, MATTHEW McKAY, who was
operating a motor vehicle insured by Defendant. STATE FARM.

~8. As a direct and proximate result of the negligence of Patricio Edward Brown.
as aforesaid. Plaintiff, MATTHEW McKAY, suffered bodily injury and resulting pain and
suffering. disability, disfigurement mental anguish, loss of capacity for the enjoyment of iife,
expense of hospitalization, medical and nursing care and treatment loss of eamings. loss of
the ability to earn money, and`aggravation of previously existing condition. The losses are
permanent and continuing in nature and Plaintiff, MATTHEW McKAY, will continue to suffer
the losses in the future. Furthermore, Plaintiff has suffered a permanent injury within a
reasonable degree of medical probability as a result of the subject accident

9. The driver and owner of the motor vehicle that collided with Plaintifi’s motor
vehicle. Patricio_Edward Brown, had total bodily injury liability coverage of $10.000 per
person. This automobile coverage was maintained through iniinity insurance Company and
has been tendered.

10. Plaintiff, MATTHEW McKAY, has complied with all the conditions precedent
to the bringing of this action. The injuries sustained by Plaintiff, MATTHEW McKAY, as a

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result of the accident described herein are in excess of the amount of bodily injury liability
coverage maintained by Patricio Edward Brown. with his insurance carrier. infinity
insuranceCompany.
WHEREFORE, Plaintiff, MAT|'HEW McKAY, demands judgment for damages against
Defendant, STATE FARM, costs of this action and a trial by jury of all issues so triable.
. COUNT,I| '
Plaintiff, MATTHEW McKAY, adopts the allegations contained in paragraphs 1 through
10, and incorporates them herein by raference.
11. This is action for declaratory relief under Chapter 86. Florida Statutes and other
applicable iaw.
12. Plaintiff is informed and believes,'and based thereon, alleges that an actual
controversy has arisen and now exists between Plaintiff and Defendant, STATE FARM, in that
a) Plaintiif alleges that the damages and injuries suffered by Plaintiff,
MATTHEW McKAY, are far in excess of the $100,000 in uninsured
motorist coverage provided by Defendant

b) Defendant claims that the Plaintiffs damages are not in excess of the
$100,000 in uninsured motorist coverage provided by Defendant.

c) The jury impaneled to hear the evidence in this case will be asked to
determine the full extent of the damages sustained by Plaintifi.

d) Aiier the jury renders its verdict in this case. the maximum judgment for
money damages that may be entered by the Court against the
' defendant. is limited to the $100,000 policy limits of the underinsured
motorist poiicy; however. this limit may notapp|y to attomey's fees, costs
and expenses that Plaintiff may be entitled to recover.
13. On June 20. 2017. Piaintiff filed a Civi| Remedy Notice of insurer Vioiations
("CRN”) with the Fiorida'Department of Financia| Services and served a copy of the CRN on

Defendant A copy of the CRN is attached hereto as "Exhibit B.’l

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14. Plaintiff is entitled from Defendant, STATE FARM. in accordance with the
provisions of Seciicn 627.727, Florida Statutes, and the terms of the underinsured motorist
poiicy;1 _

15. A declaration of the total damages sustained by Plaintiff is necessary and

appropriate in thatz

a) The parties to this action have antagonistic and adverse interest in
determining the total damages sustained by Piaintiff.

b) Plaintiff requires a determination of MATTHEW McKAY'S total damages
and that MATTHEW McKAY'S total damages exceed the Defendant's
UM policy iimits, a condition precedent to bring an action for bad faith
claims handling pursuant to Florida Statutes, Section 624.155(1)(b).
Plaintiff requires a determination of MATTHEW McKAY'S total damages
so that any a`li process and/or appeal rights of the parties as to the total
damages can be perfected upon a jury verdict in this case.

d) The relief sought herein is not merely the giving of legal advice by the
Court or to answer a question propounded from curiosity.

WHEREFORE, Plaintiff, MATiHEW McKAY, demands a declaratory judgment
providing a conclusive determination of the totai~d'amages suffered by MATTHEW McKAY, as
determined by thejury. plus costs and supplemental relief.

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Plaintiff, MATTHEW McKAY, adopts the allegations 1 through '10 and paragraph 13'
above and incorporates them herein by reference. l

16. Piaintiff's claim will ripen upon the determination by the Court or by confession
of judgement by S'i'ATE FARM, that Plaintiff is entitled to the limits of uninsured motorist
benefits under the subject policy.

17. Plaintiff timely reported the ciaim to Defendant and otherwise complied with all _
the insured's~obiigations under the contract of insurance. . .

' 18: As a result of the injuries caused by the negligence of the underinsured motorist

and the relationship between the parties. under the policy. STATE FARM. owed a duty to

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Plaintiff to attempt in good faith to settle Plaintifi’s claim when, under all these circumstances it
could have and should have done so had it acted fairly and honestly toward its insured and
with due regard for Plaintift’s interest.' STATE.FARM further owed a duty to_ Plaintiff to refrain
from engaging in unfair settlement practices.

19. STATE FARM breached its duties to Plaintiff in violation of Section 624.155.
Florida Statutes by failing to attempt in good faith to settle Plaihtifl’s uninsured motorist claim
when, under all of the circumstances it could have and should have done so had it acted fairly
and honestly toward its insured and with due regard for Plaintifi"s interest.

20. As a direct and proximate result of STATE FARM'S actions or inactions as set
forth above. Plaintiff has been damaged

21. STATE FARM failed to cure its bad faith and more than 60 days have passed
since the filing and service date cf_ the CRN. '

22. As a result of STATE FARM'S failure to act in good faith and based o_n the
statutory violations alleged above. Plaintiff is entitled to recover the total amount of 'any
damages pursuant to Section to 627.727(10).' Florida Statutes, including ali damages suffered
_as a result of the subject accident and ali damage caused by STATE FARM'S failure to act in
good faith and statutory violations alleged above. d

23. STATE FARM'S violation of Secticn 624.155, Florida Statutes, has caused
damages to Plaintiff of interest on unpaid benefits. prejudgment interest accn.red since the date
of STATE FARM'S violations; attorney fee's incurred by Plaintiff in the prosecution cfa claim
for uninsured motorists benefits and prejudgment interest thereon; costs incurred in the
prosecution of Plaintifl’s claim for uninsured motorist benefits, including expert witness fees;
costs incurred in the prosecution of Plaintifi’s claim for violation of Section 624.155. Florida

Statutes; and post judgment interest

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24. As further direct and proximate result of STATE FARM'S failure to act in good

faith and based on the statutory violations alleged above. Plaintiff had to retain the services of
' the undersigned attorney and contracted with him for the payment of his attorney fees to bring

this action and recover the excess damages owed by STATE FARM. By operation of iaw.
including Section 627.428. Florida Statutes, STATE FARM will be obligated to pay those fees
upon the successful conclusion of Plaintiffs ciaim.

25. Aii conditions precedent to Plaintifi’s rights to bring this action have occurred or
have been satisfied

WHEREFORE. Plaintiff. MA'|'i'HEW McKAY, demands judgment suffered by him, pre
and post judgment interest, attomey's fees according to Sections 627.155, 627.727(10) and
627.428, Florida Statutes, costs and ali other relief this Court deems proper. d

oATEo wis 30”` day orsepiember, 2017.

 

MARK G. USDIN. P.A.

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MARK G. USDIN. ESQUlRE

Florida Bar No. 0476315

1920 San Marco Boulevard

Jacksonvi|ie, Florida 32207

(904) 399-4070

(904) 399-1917 facsimile

Emaii addresses for papers and pieadings:
markusdin@beiisouih.net

khickin@belisouth.net

Attorney for Plaintiffs
mh

